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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


 AMERICAN AERIAL SERVICES, INC.,)
                                )
     Plaintiff,                 )
                                )
                v.              )
                                ) Case No. 2:12-cv-00361-JDL
 TEREX USA, LLC, and            )
 THE EMPIRE CRANE COMPANY, LLC, )
                                )
     Defendants.                )


 CONSOLIDATED ORDER ON TEREX’S MOTIONS TO EXCLUDE EXPERT
 REPORTS, OPINIONS, AND TESTIMONY (ECF NOS. 123, 134, 136, and 137)

       Terex USA, LLC seeks to exclude the reports, opinions, and testimony of four

 expert witnesses identified by American Aerial Services, Inc.: Paul Roberts, Tom

 Beverly, Dennis Eckstine, and Edward P. Cox, each of whom inspected the Model T-

 780 truck crane that is the subject of this litigation (the “Crane”). ECF Nos. 123, 134,

 136, and 137. As grounds for exclusion, Terex cites, variously, Federal Rules of

 Evidence 401, 402, 403, 702, 703, and 802. Terex also requested a hearing pursuant

 to Federal Rule of Evidence 104(a), which was held on April 7, 2015. As explained in

 more detail below, Terex’s motions to exclude are granted in part and denied in part.

                           I. THE DAUBERT STANDARD

       Federal Rule of Evidence 702 governs the admissibility of expert testimony and

 states:

                     A witness who is qualified as an expert by
                     knowledge, skill, experience, training, or
                     education may testify in the form of an
                     opinion or otherwise if:
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                      (a) the expert’s scientific, technical, or other
                      specialized knowledge will help the trier of
                      fact to understand the evidence or to
                      determine a fact in issue;
                      (b) the testimony is based on sufficient facts
                      or data;
                      (c) the testimony is the product of reliable
                      principles and methods; and
                      (d) the expert has reliably applied the
                      principles and methods to the facts of the
                      case.

 Fed. R. Evid. 702.

       In Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), the Supreme

 Court assigned a gatekeeper role to the courts to assure that expert testimony is not

 introduced at trial unless Rule 702’s requirements have been met. Thus, it is the

 responsibility of the trial judge to ensure that a sufficiently-qualified expert provides

 relevant testimony that “rests on a reliable basis.” Beaudette v. Louisville Ladder,

 Inc., 462 F.3d 22, 25 (1st Cir. 2006). “Expert testimony may be excluded if there is

 ‘too great an analytical gap between the data and the opinion proffered.’” Milward v.

 Acuity Specialty Prods. Grp., Inc., 639 F.3d 11, 15 (1st Cir. 2011) (quoting Gen. Elec.

 Co. v. Joiner, 522 U.S. 136, 146 (1997).    “The object of Daubert is ‘to make certain

 that an expert, whether basing testimony on professional studies or personal

 experience, employs in the courtroom the same level of intellectual rigor that

 characterizes the practice of an expert in the relevant field.’” Id. (quoting Kumho Tire

 Co. v. Carmichael, 526 U.S. 137, 152 (1999)).

       “When the adequacy of the foundation for the expert testimony is at issue, the

 law favors vigorous cross-examination over exclusion.” Zuckerman v. Coastal Camps,



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 Inc., 716 F. Supp. 2d 23, 28 (D. Me. 2010) (internal quotation omitted). “If the factual

 underpinnings of [the expert’s] opinions [are] in fact weak, that [is] a matter affecting

 the weight and credibility of [his] testimony.” Payton v. Abbott Labs, 780 F.2d 147,

 156 (1st Cir. 1985).

       With regard to reliability, the court “considers whether ‘the testimony is based

 on sufficient facts or data’; whether ‘the testimony is the product of reliable principles

 and methods’; and whether ‘the expert has reliably applied the principles and

 methods to the facts of the case.’” Smith v. Jenkins, 732 F.3d 51, 64 (1st Cir. 2013)

 (quoting Fed. R. Evid. 702). But Rule 702 “demands only that the proponent of the

 evidence show that the expert’s conclusion has been arrived at in a scientifically

 sound and methodologically reliable fashion” and not “that the expert's assessment

 of the situation is correct.” Ruiz–Troche v. Pepsi Cola of P.R. Bottling Co., 161 F.3d

 77, 85 (1st Cir. 1998). “[E]xpert testimony may be more inferential than that of fact

 witnesses, but an expert opinion must be more than a conclusory assertion about

 ultimate legal issues” to be admissible. RTR Techs., Inc. v. Helming, 707 F.3d 84, 93

 (1st Cir. 2013) (quotation omitted).

                                 II. LEGAL ANALYSIS

 A. Motions to Exclude the Opinions of Paul Roberts and Tom Beverly (ECF
    Nos. 137 and 123)

       1. Factual Background

       In August 2012, American Aerial hired Roaring Brook Consultants, Inc. to

 perform an annual OSHA standards inspection of the Crane. ECF No. 137 at 1; ECF




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 No. 162 at 2. Paul Roberts, a certified crane inspector at Roaring Brook, inspected

 the Crane on August 30, 2012. ECF No. 162 at 2.

               Roberts did not certify the Crane after his inspection, and prepared a report

 (the “Roberts Report”) explaining what he found: (1) a bent chord1 on the lattice boom

 extension jib; (2) welds on the boom and jib that were deficient because they were

 undercut, had insufficient weld width, excessive buildup, and “lack of penetration;”

 (3) bent boom hinge cheek plates; (4) cracks at the base of the Crane’s turntable; (5)

 the Crane’s “swing lock” failed to engage when the main boom was stored in the boom

 cradle; (6) two outriggers on the side of the Crane which “broke free,” or rose up off

 the ground, while the Crane was lifting 60% of its rated load capacity; and (7) the

 Crane’s driver cab door failed to stay latched. ECF No. 137 at 2-4; ECF No. 137-1 at

 6-7.

               Several days after Roberts’ inspection, which was performed on September 4

 and 6, 2012, American Aerial retained KB Inspection Services to inspect the welds on

 the Crane’s turntable, boom, and jib. ECF No. 164 at 1; ECF No. 164-3 at 3. Tom

 Beverly, a KB inspector, identified 68 weld imperfections (“defective welds”) which he

 described in a written report (the “Beverly Report”). ECF No. 123 at 1; ECF No. 123-

 1 at 3-6. Though he identified the defective welds, Beverly did not reach ultimate

 conclusions regarding whether the welds fell short of industry standards as set forth

 in the American Welding Society’s “AWS D14.3:2010, Specification for Welding,




                                                             
 1 Terex defines a “chord” as “one of the principal members of a truss, especially one that lies along
 the top or bottom.” ECF No. 137 at 2 n.2.

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 Earthmoving, Construction, and Agricultural Equipment” (“AWS D14.3”). ECF No.

 123 at 1, 5. See also ECF No. 164 at 3.

               2. Terex’s Objections to Paul Roberts’ Report and Opinions

               Terex argues that Roberts’ report and testimony should be excluded because

 he did not apply appropriate industry or manufacturer standards to determine

 whether an identified problem amounted to a true defect in the Crane, and instead

 “only identified areas that needed resolution before he would certify the Crane under

 OSHA.” ECF No. 137 at 1. Thus, Terex argues that Roberts’ report and opinions

 should be excluded under Federal Rules of Evidence 702 and 703 because they have

 an unreliable basis.2 Id. Terex also argues that the entire Roberts report should be

 excluded under Federal Rule of Evidence 403 because it is unfairly prejudicial and

 would confuse or mislead the jury and because it constitutes inadmissible hearsay

 under Federal Rule of Evidence 802. Id. at 2.

               Terex’s point-by-point objections to Roberts’ report and opinions can be

 summarized as follows: with regard to the bent chord, Roberts testified at his

 deposition that OSHA standards do not specify the acceptable straightness for a



                                                             
 2   Federal Rule of Evidence 703 states that:

                                             An expert may base an opinion on facts or data in the case that
                                             the expert has been made aware of or personally observed. If
                                             experts in the particular field would reasonably rely on those
                                             kinds of facts or data in forming an opinion on the subject, they
                                             need not be admissible for the opinion to be admitted. But if
                                             the facts or data would otherwise be inadmissible, the
                                             proponent of the opinion may disclose them to the jury only if
                                             their probative value in helping the jury evaluate the opinion
                                             substantially outweighs their prejudicial effect.
 Fed. R. Evid. 703.

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 chord; instead, the manufacturer of the crane does. Id. at 6. But Roberts admitted

 that he did not apply Terex’s standards to determine if the bent chord fell within

 those standards. Id. Therefore, Terex argues, Roberts’ opinion is “not based on good

 grounds” and is inadmissible under Rule 702. Id.

       Terex also objects that “Roberts did not do the work necessary to determine if

 the welds were deficient,” because he did not measure the welds or conduct other tests

 himself, but instead suggested that American Aerial arrange to have the defective

 welds evaluated by someone else under applicable standards. Id. at 7 (citing Roberts

 deposition, ECF No. 137-2 at 12-13).

       With regard to the bent boom cheek plates, Terex claims that Roberts simply

 “speculated there was something wrong,” and that his assertion of a deficiency has

 no reliable basis because he could not state what caused the “bowing” that he

 observed. Id. at 8. See also ECF No. 137-2 at 6 (“I have just never seen anything like

 it before. So that’s my – it looks to me like something was wrong, that’s all.”).

       Terex also argues that Roberts’ opinion with regard to the cracks in the Crane’s

 turntable should be excluded because he did not remove paint to determine whether

 the steel itself was cracked or only the paint. ECF No. 137 at 8.

       Terex faults Roberts’ diagnosis of a problem with the “swing lock” on the Crane,

 and cites the testimony of a competing expert who described how the main boom is

 stored by a “swing brake” as opposed to a “lock.” Id. at 4 (citing ECF No. 137-4 at 4,

 5).




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               With regard to the failed load test, Terex objects that Roberts cannot identify

 any regulation or OSHA requirement that disqualifies a crane when two of its

 outriggers break free, or rise up from the ground. Id. at 9.

               Finally, Terex objects that Roberts’ identification of a problem with the latch

 on the driver’s cab door is irrelevant under Federal Rule of Evidence 401 and thus

 inadmissible under Rule 402 because he does not know if the latching issue existed

 when the Crane left the Terex factory. 3 Id. at 9-10.

               3. Terex’s Objections to Tom Beverly’s Report and Opinions

               Terex argues that although Beverly’s report indicates that he found 68 weld

 defects, he did not determine whether those defects affected the structural integrity

 of the Crane’s jib, and did not determine whether the defects fall outside of the

 parameters established by applicable industry standard as set forth in the AWS

 D14.3. ECF No. 123 at 1, 5. Therefore, Terex argues, Beverly’s observations are not

 relevant to the question of whether there was a defect or deficiency in the Crane

 which would have been subject to repair under an express or implied warranty, and

 should be excluded pursuant to Rule 402. Id. at 5-6.

               Terex also argues that Beverly’s report should be excluded from evidence

 pursuant to Rule 702 because “[i]dentifying imperfections in the welds does not help

                                                             
 3 Federal Rule of Evidence 401 states that evidence is relevant if “it has any tendency to make a fact
 more or less probable than it would be without the evidence;” and “the fact is of consequence in
 determining the action.” Fed. R. Evid. 401. “[T]his standard grants the district court substantial
 latitude in admitting testimony and for that reason, only in exceptional cases will reversible error be
 found in the district court’s determination of the probative value of testimony in a particular case.”
 Cummings v. Standard Register Co., 265 F.3d 56, 63 (1st Cir. 2001) (quoting Conway v. Electro Switch
 Corp., 825 F.2d 593, 597 (1st Cir. 1987)) (quotation marks omitted). Federal Rule of Evidence 402
 states that “[i]rrelevant evidence is not admissible.” Fed. R. Evid. 402.
  

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 the jury determine a fact of consequence, i.e., whether the imperfections are

 something Terex . . . should have repaired but did not.” Id. at 6.

         Additionally, Terex argues that Beverly’s report should be excluded from

 evidence pursuant to Rule 403 as unduly prejudicial because it does not differentiate

 between defective welds and welds that fall short of the AWS D14.3 (“rejectable

 welds”).4 Id. Terex claims that the distinction between defective welds and rejectable

 welds is a subtle one which is likely to confuse the jury. Id.

         Finally, Terex argues that Beverly’s report constitutes hearsay under Federal

 Rule of Evidence 801 because it is an out-of-court statement by a declarant who is not

 testifying in court that is submitted to prove the truth of the matter asserted, and

 thus, should be excluded pursuant to Rule 802.5 Id. at 7.

         4. Analysis

         It would be premature to conclude in advance of trial that both Roberts’ and

 Beverly’s reports constitute inadmissible hearsay under Rule 802 that are not subject

 to any of the exceptions set forth in Rule 803. I therefore decline to exclude them at

                                                             
 4    Federal Rule of Evidence 403 states that evidence may be excluded “if its probative value is

 substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing the
 issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”
 Fed. R. Evid. 403. The First Circuit has noted that “all probative evidence is prejudicial, and the
 district court [does] not abuse its discretion in finding that . . . statements [are] not unfairly prejudicial.”
 Kelly v. Airborne Freight Corp., 140 F.3d 335, 348 (1st Cir. 1998). “In Rule 403, ‘prejudice’ does not
 mean the damage to the opponent’s case that results from the legitimate probative force of the evidence;
 rather, it refers to the unfair advantage that results from the capacity of the evidence to persuade by
 illegitimate means.” Voisine v. Danzig, 1999 WL 33117132, at *2 (D. Me. Oct. 26, 1999) (quoting 22 C.
 Wright & K. Graham, Federal Practice and Procedure § 5215 at 274–75 (1978)).
  
 5  Federal Rule of Evidence 802 generally bars the admission of hearsay evidence. Fed. R. Evid. 802.

 Hearsay evidence is a statement by the declarant, which is not made while testifying at the current
 trial or hearing, that a party offers in evidence to prove the truth of the matter asserted in the
 statement. Fed. R. Evid. 801(c).
  

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 this stage of the case. American Aerial indicated at the hearing on Terex’s motion

 that, although expert reports generally constitute hearsay, it may nevertheless seek

 to admit portions of Roberts’ or Beverly’s report pursuant to a hearsay exception.

 Therefore, the basis for exclusion has yet to be established and I deny the motion as

 to this objection. Terex may renew its objection at trial if appropriate.

       I also decline to exclude Roberts’ and Beverly’s testimony. The substance of

 their testimony is more narrative than expert, yet relies upon Roberts’ and Beverly’s

 knowledge of and experience with inspecting heavy equipment. Roberts will testify

 that he is a certified crane inspector; that American Aerial asked him to inspect the

 Crane and certify that it met OSHA-based standards; that he observed problems

 which caused him to be concerned; and that he consequently did not certify the Crane.

 Beverly will testify that he observed defective welds that he thought should be

 evaluated by a more specialized expert to determine compliance with AWS D14.3.

 ECF No. 123-1 at 6. Such testimony is within Roberts’ and Beverly’s expertise as

 inspectors, is prefatory to that of Dennis Eckstine, American Aerial’s crane safety

 expert, and Edward Cox, American Aerial’s welding expert, and will assist the jury

 in understanding the highly technical evidence in the case. In their depositions and

 reports, Roberts and Beverly each restricted himself to what he personally observed,

 and neither expressed an opinion as to the ultimate question in the case, i.e., whether

 the Crane is so defective as to breach the applicable warranties. See ECF No. 123-2

 at 2; ECF No. 137-1; ECF No. 137-2.




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       I conclude that Roberts’ and Beverly’s testimony has a reliable basis, will assist

 the jury’s understanding of the evidence, and is admissible under Rules 403 and 702.

 I also conclude that their opinions will be relevant, although not conclusive, to the

 issue of the condition of the Crane and the identification of concerns that led to the

 more detailed examinations performed by Dennis Eckstine and Edward Cox, and are

 admissible under Rule 402.

       Accordingly, Terex’s Motion to Exclude Tom Beverly’s Report and Opinions

 (ECF No. 123) and its Motion to Exclude Paul Roberts’ Report and Opinions (ECF

 No. 137) are DENIED.

 B. Terex’s Motion to Exclude Dennis Eckstine’s Report, Opinions, and
    Testimony (ECF No. 136)

       Terex seeks to exclude the reports, opinions, and the testimony of Dennis

 Eckstine, identified by American Aerial as an expert on cranes.         ECF No. 136.

 Eckstine inspected the Crane on July 11, 2013, id. at 2, and produced a written report

 (the “Preliminary Report”) detailing his findings on August 1, 2013, ECF No. 136-2.

 As grounds for exclusion, Terex argues that Eckstine failed to apply a “rigorous”

 analysis as required by Rule 702, see ECF No. 136 at 1; that portions of the

 Preliminary Report and Eckstine’s testimony are impermissibly cumulative, and

 would confuse or mislead the jury and therefore should be excluded pursuant to Rule

 403, see id. at 6, 9; and that portions of Eckstine’s testimony should be excluded as

 inadmissible hearsay under Rule 802, id. at 6-7.




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       1. Eckstine’s Opinion Regarding Breach of Contract

       At page 13 of his Preliminary Report, Eckstine stated that the alleged defects

 in the Crane “constitute a material breach of contract and applicable warranties by

 defendants Terex and Empire Crane,” and that “[t]here was a failure to deliver a

 crane ready for service and in new condition.” ECF No. 136-2 at 13. Terex objects to

 these statements and argues that they should be excluded, along with any related

 testimony, because the court previously granted summary judgment in favor of Terex

 on American Aerial’s claim for breach of contract “and specifically held that the Crane

 was new.” ECF No. 136 at 3 (citing ECF No. 108). Terex asserts that the court’s

 summary judgment order is the law of the case, and therefore, Eckstine should be

 precluded from revisiting these issues.    Id. (citing F/V SAILOR, Inc. v. City of

 Rockland, 329 F. Supp. 2d 176, 178 (D. Me. 2004). Terex also notes that Eckstine has

 not been qualified as an expert on contracts. Id.

       American Aerial does not dispute Terex’s argument regarding breach of

 contract and that the Crane was new, focusing instead on the admissibility of

 Eckstine’s opinion on its claim for breach of the warranty of merchantability. See

 ECF No. 165 at 4. Accordingly, Terex’s motion to exclude is granted with regard to

 this objection. Eckstine’s opinion concerning whether the Crane was “new” and

 whether the alleged defects in the Crane constitute a breach of contract are excluded.

       2. Eckstine’s Opinion Regarding Final Inspection of the Crane

       On page 14 of the Preliminary Report, Eckstine states that “[i]t appears that

 this machine [the Crane] did not go through final inspection by Terex as evidenced



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 by the blank Terex inspection sticker on the door,” and “[t]he ‘Terex Quality OK’ decal

 is blank suggesting the machine was not inspected by Terex . . . .” ECF No. 136-2 at

 14. Terex argues that these statements are speculative and involved no application

 of expertise, and are thus inadmissible under Rule 702. ECF No. 136 at 4. Terex also

 claims that this statement “does not ‘fit’ the facts of the case” because it will introduce

 evidence that a final inspection was performed on the Crane. Id. (citing Terex factory

 inspection documents, ECF No. 77-3 at 3-6).          Alternatively, Terex asserts that

 Eckstine’s opinion would confuse or mislead the jury and should therefore be excluded

 under Rule 403. Id.

       Terex’s motion to exclude is denied on this point. Terex does not dispute that

 Eckstine personally observed the blank inspection sticker on the door of the Crane.

 See ECF No. 136 at 4. As a crane expert with documented experience in the industry,

 see ECF No. 165-1, it is not speculative, confusing, or misleading for Eckstine to

 render an opinion that a blank inspection sticker “suggests” that no inspection was

 performed, or makes it “appear” that none took place.

       3. Bent Turntable Plate

       On page 15 of the Preliminary Report, Eckstine states that the “[t]urntable

 side plates are bent and need to be checked to Terex specifications.” ECF No. 136-2

 at 15. Terex objects that this does not constitute an opinion that the turntable side

 plates are defective or somehow breached a warranty, and therefore is irrelevant and

 likely to confuse or mislead the jury. ECF No. 136 at 4 (“Eckstine does not know if

 there is a problem with the bent side plates.”).



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       Eckstine’s statement appears as a bullet point in what he calls “a list of the

 more significant problems that continue to be unresolved[.]” ECF No. 136-2 at 14-16.

 That the turntable side plates were bent is probative of the general condition of the

 Crane. Terex does not explain why Eckstine’s observation of bent turntable plates

 and his inclusion of it on a list of unresolved problems is irrelevant to the case, or how

 this would confuse jurors. If Eckstine’s opinion is not sufficiently definitive for Terex,

 then it may ask him to elaborate on cross-examination. The motion to exclude is

 denied as to this objection.

       4. Opinions Which Allegedly Lack Analysis

       Terex argues that several of Eckstine’s opinions—those concerning alleged

 defects in the Crane’s cab, the front storage box drain hole, certain “weld issues,”

 alleged problems related to the Crane’s exhaust system, alleged problems with the

 Crane’s hydraulic hoses, and the alleged failure of the bubble level in the Crane’s

 operator cab—should be excluded pursuant to Rule 702 because Eckstine did not

 perform his own independent analysis of the Crane. ECF No. 136 at 4-7. Instead,

 Terex argues, Eckstine relied on information provided to him by Jim Read, the

 president of American Aerial, and he did not apply any expertise to the facts of the

 case. Id. An expert may rely on data provided by a plaintiff, and therefore, Eckstine’s

 report and testimony should not be excluded simply because he relied upon

 information provided by Read. See Downeast Ventures, Ltd. v. Washington Cnty, 2007

 WL 679887, at *4 (D. Me. Mar. 1, 2007); Great N. Storehouse, Inc. v. Peerless Ins. Co.,

 2000 WL 1900299, at *2 (D. Me. Dec. 29, 2000) (citing S. Port Marine, LLC v. Gulf



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 Oil Ltd. P’ship., 234 F.3d 58, 67 (1st Cir. 2000)). Furthermore, Eckstine’s asserted

 failure to perform an independent analysis of the Crane does not withstand closer

 scrutiny for the following reasons:

       First, Terex objects that Eckstine “has not applied expert knowledge to the

 issue” with regard to the Crane’s driver cab door, and claims that he “simply notes

 the existence of the loose striker pin and dents and states American Aerial should

 have received a new cab.” ECF No. 136 at 5. Yet in the Preliminary Report, Eckstine

 also notes that the problem “has not been able to be fixed,” suggesting a problem

 beyond a loose door latch. ECF No. 136-2 at 14. At his deposition, he testified that

 the door appeared “distorted and painted over,” although he could not identify when

 it was painted over, or what caused it to be distorted. ECF No. 136-3 at 12. I am not

 persuaded that Eckstine failed to apply expertise simply because he relied upon

 Read’s representation that the driver cab door had been problematic since it was first

 delivered to American Aerial.     This objection goes more to the factual basis for

 Eckstine’s opinion and is therefore appropriately addressed by cross-examining both

 Eckstine and Read instead of outright exclusion. See Zuckerman, 716 F. Supp. 2d at

 28 (“When the adequacy of the foundation for the expert testimony is at issue, the

 law favors vigorous cross-examination over exclusion.”) (internal quotation omitted).

 The availability of cross-examination also reduces the likelihood of Eckstine’s

 testimony confusing or misleading the jury, contrary to Terex’s assertion. ECF No.

 136 at 5. The motion to exclude is therefore denied with regard to this objection.




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               Second, with regard to Eckstine’s conclusion that there was ice buildup in the

 Crane’s front storage box drain hole, Terex objects that Eckstine did not personally

 observe evidence of ice in that compartment but instead relied upon statements by

 American Aerial. Id. However, Eckstine, as an expert on cranes, would not need to

 personally observe ice to determine whether the drainage hole was too small, and

 whether it might cause ice-related problems in the winter months. I therefore see no

 merit to the assertion that “no expertise was applied,” see id., nor any indication that

 Eckstine’s method was unreliable. The motion to exclude is denied with regard to

 this objection.

               Third, with regard to the exhaust issues, the Preliminary Report states that

 “[e]ngine exhaust is unguarded and on the deck of the [C]rane” and that “[i]t is also

 very close to the engine coolant cap.” ECF No. 136-2 at 14. Terex objects that the

 relevant ANSI standard6 does not require engine exhaust pipes to be guarded—it

 permits them to be guarded or insulated, and points to this fact as proof that Eckstine

 “did not determine if the exhaust pipe was insulated; he merely eyeballed the exhaust

 pipe and stated it was a danger.” ECF No. 136 at 6 (citing ECF No. 136-3 at 13).

 However, at his deposition, Eckstine was not asked about exhaust insulation; he was

 only asked what was wrong with the guard on the exhaust pipe. See ECF No. 163-3

 at 13. Furthermore, Eckstine also testified to another problem with the exhaust—

 that it was too close to the “walking surfaces of the [C]rane and close to the coolant

 cab.” Id. These observations apply expertise regarding the design and manufacture


                                                             
 6   American National Standards Institute Standard B30.5-2007 ¶ 5.1.9.2.

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 of cranes, and undercut Terex’s assertion to the contrary. Terex also seeks to have

 Eckstine’s opinion excluded under Rule 403 on the basis that it would mislead or

 confuse the jury, but does not explain why Eckstine’s opinion is confusing or

 misleading. The motion to exclude is therefore denied with regard to this objection.

       Fourth, Terex objects that Eckstine is not a welding expert yet nevertheless

 “parrot[ed] what he heard from Read or other experts,” and “is merely repeating

 inadmissible hearsay.” ECF No. 136 at 6 (citing Rules 403, 702, and 802). This

 mischaracterizes the Preliminary Report, which merely states that “[n]umerous

 welds which were created by Terex during the manufacturing process did not pass

 inspections conducted by Paul Roberts . . . and [Tom] Beverly.” ECF No. 136-2 at 14

 (emphasis added).    This statement does not repeat any language or conclusions

 contained in the Beverly or Roberts reports, and therefore is not hearsay. The

 statement is not cumulative or unreliable, in that it simply states a fact in evidence.

 The motion to exclude is therefore denied with regard to this objection.

       Fifth, with regard to the Crane’s hydraulic hoses, Terex objects to Eckstine’s

 conclusion that the hoses needed to be replaced because they were abraded and too

 long, arguing that Eckstine did not personally see any abraded hoses or measure

 them to determine if they were too long. ECF No. 136 at 6-7. I am not persuaded

 that Eckstine failed to apply expertise simply because he relied upon Read’s

 representations. This objection is aimed squarely at whether Eckstine’s opinion has

 an adequate factual foundation and is therefore more appropriately addressed by

 cross-examining Eckstine instead of outright exclusion. See Zuckerman, 716 F. Supp.



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 2d at 28. Furthermore, Eckstine noted in the Preliminary Report that the “[e]xterior

 of [the] hydraulic jacks are scuffed due to repairs by Empire/Terex,” which evidences

 Eckstine’s own inspection of the hydraulic system. ECF No. 136-2 at 15.7 The motion

 to exclude is denied with regard to this objection.

               Sixth, Eckstine testified at his deposition regarding the bubble level in the

 Crane’s operator cab that he had “examin[ed] the machine as it was set” and did not

 adjust the bubble level. ECF No. 136-3 at 17-18. Terex objects that this renders

 Eckstine’s opinion unreliable because he “does not know whether the bubble level was

 properly adjusted when it left Terex USA’s possession.” ECF No. 136 at 7. I am not

 persuaded by Terex’s objection because, as with Eckstine’s observations of the driver’s

 cab door and the hydraulic system, Terex’s challenge is to the factual basis for

 Eckstine’s testimony, the preferred recourse for which is cross-examination and not

 exclusion. See Zuckerman, 716 F. Supp. 2d at 28. Therefore, the motion to exclude

 is denied with regard to this objection.

               5. Eckstine’s Opinion Regarding Breach of Warranty

               Terex also objects to Eckstine’s opinion that it breached “applicable warranties,”

 and argues that this constitutes expert testimony on a legal issue. ECF No. 136 at 7-

 8 (citing ECF No. 136-2 at 13).

               “Expert testimony that consists of legal conclusions cannot properly assist the

 trier of fact[.]” Nieves-Villanueva v. Soto-Rivera, 133 F.3d 92, 100 (1st Cir. 1997)

 (quotation omitted). An expert witness may not, for example, testify that a party

                                                             
 7 Terex also objects that Eckstine’s opinions are hearsay, see ECF No. 136 at 7, yet offers no
 explanation as to how this could be the case if he testifies as to the opinion in court.

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 incurred damages as a “proximate result” of something, or characterize a party’s

 action as “wrongful.” James, 741 F. Supp. 2d at 342. Thus, while Eckstine, as an

 expert on cranes, may testify regarding defects in the Crane, he may not testify as to

 whether Terex “breached” any applicable warranty. Terex’s motion to exclude is

 granted with regard to this objection.

       6. Alleged “Parroting” of American Aerial’s Complaints

       Terex also seeks to exclude a list of nine problems identified by Eckstine in his

 report, arguing that Eckstine’s list is “nearly identical to the list of issues American

 Aerial sent to Empire Crane.” ECF No. 136 at 8-9 (citing ECF No. 136-2 at 13-14)

 (listing such problems with the Crane as damaged tires, a leaking outrigger beam

 cylinder seal, ice in the front storage compartment, a broken serpentine belt, a broken

 radiator fan shroud, rusting paint, a hole in the exhaust pipe, incorrect manuals, and

 low coolant in the radiator). Terex claims that Eckstine’s testimony regarding these

 complaints lacks expertise as required by Rule 702 and is cumulative and should be

 excluded under Rule 403 because “[d]oubtless American Aerial will have Read testify

 about these issues[.]” Id. at 9.

       Terex’s motion to exclude is denied with regard to this issue. The Preliminary

 Report identifies the nine listed items as problems which “were reported by American

 Aerial.” ECF No. 136-2 at 13. Eckstine does not purport to list the items as if he had

 discovered them himself. In the event that American Aerial asks both Read and

 Eckstine to list these nine items for the jury, then Terex may renew its objection that

 the evidence is cumulative at trial.



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       7. Conclusion

       For the reasons discussed above, Terex’s Motion to Exclude Dennis Eckstine’s

 Report, Opinions, and Testimony (ECF No 136) is GRANTED IN PART with regard

 to Eckstine’s opinions and testimony concerning whether Terex breached a contract

 with American Aerial, whether the Crane was “new” when American Aerial

 purchased it, and whether Terex breached any express or implied warranty. The

 motion is otherwise DENIED.

 C. Terex’s Motion to Exclude Edward P. Cox’s Opinions and Testimony
    (ECF No. 134)

       Terex also seeks to exclude the report, opinions and testimony of Edward P.

 Cox, who was identified by American Aerial as a welding expert. ECF No. 134 at 1.

 Cox prepared two reports concerning welds on the Crane, one dated August 4, 2013

 (the “August 4 Report”), and the second dated October 5, 2013 (the “October 5

 Report”). Id.; ECF No. 134-2. Cox personally inspected the Crane on October 1, 2013.

 ECF No. 134 at 3. As grounds for exclusion, Terex claims that the August 4 Report

 and Cox’s opinions are the product of unreliable data under Rule 702, and based on

 unreliable grounds under Rule 703. For the reasons discussed below, Terex’s motion

 is granted in part and denied in part.

       1. The August 4 Report

       Terex argues that Cox did not personally inspect the Crane before preparing

 the August 4 Report, and instead relied upon the Beverly and Roberts Reports (ECF

 Nos. 123-1 and 137-1). ECF No. 134 at 5. Beverly inspected the crane in September

 2012 and identified defective welds as discussed in greater detail, above. Roberts


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 inspected the Crane on August 30, 2012, to determine whether it complied with

 OSHA standards, and also identified defective welds among other issues, as discussed

 in greater detail, above. Terex asserts that the information from Beverly and Roberts

 was unreliable because neither one applied the standards set forth in the AWS D14.3.

 Id. at 6. Therefore, Terex argues, the opinions expressed in Cox’s August 4 Report

 should be excluded under Rule 703 because they are not based on reliable grounds.

 Id. at 7.

        The motion is denied as to Rule 703 because Cox personally inspected the

 Crane after writing the August 4 Report, and he will testify with the benefit of his

 own observations.

        2. Testimony Regarding Defective and Rejectable Welds

        Terex also seeks to exclude Cox’s testimony that “defective and rejectable”

 welds found by Roberts during the OSHA inspection in August 2012 caused the Crane

 “to be removed from service and to remain out of service.” Id. at 7 (citing 134-1 at 6,

 ¶ 6). Terex argues that such an opinion speaks to American Aerial’s motivations,

 which are beyond the scope of Cox’s expertise or knowledge. Id. American Aerial

 counters that it is within Cox’s expertise to know that a failure to meet welding

 standards would cause the Crane to be removed from service. ECF No. 161 at 5-6.

 American Aerial also argues that Cox is permitted to rely on information from Read

 that relates to removing the Crane from service.         Id. at 6 (citing Wetmore v.

 McDonald, Page, Schatz, Fletcher & Co., LLC, 2007 WL 3332792, at *2 (D. Me. Nov.

 7, 2007)).



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       The focus of Cox’s analysis was whether the Crane’s welds were defective, not

 American Aerial’s motivations for removing the Crane from service. Therefore, to the

 extent that Cox has an expert opinion regarding why the Crane was in fact removed

 from service in August 2012, such an opinion is outside of Cox’s expertise and is

 excluded. Terex’s motion is therefore granted with regard to this objection. I note,

 however, that this ruling excludes Cox’s testimony as to whether the Crane was in

 fact removed from service due to concern over defective welds after failing the August

 2012 OSHA inspection performed by Paul Roberts.           It does not exclude Cox’s

 testimony, based on his expertise and experience, as to whether the Crane should

 have been removed from service after it failed the OSHA inspection.

       3. Testimony Regarding Welds That Cox Measured With A Gauge

       Terex seeks to prevent Cox from testifying that any of the 76 defective welds

 he measured failed to meet the standards of the AWS D14.3. ECF No. 134 at 7-8.

 Terex contends that because Cox did not review supplemental engineering drawings

 before his deposition, he did not know the designed size of each weld. Id. According

 to Terex, Cox needed to know the designed size of a weld in order to know which

 gauge to use to accurately measure the weld and determine if it complied with the

 AWS D14.3. Id. Therefore, Terex claims that Cox’s opinions and testimony are

 unreliable under Rule 702. Id. at 8.

       Terex’s own welding expert, Mikal Balmforth, testified that visually inspecting

 welds for cracks and poor weld fusion is permissible under AWS standards, even

 without a gauge. ECF No. 161-6 at 2 (“[A] crack is a violation of the code no matter



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 what size it is. So, you don’t need a gauge to tell you that that violates the code.”); see

 also ECF No. 161-7 (Balmforth noting in an email that “[t]hings like cracks and weld

 fusion can be inspected without a gauge[.]”). Therefore, Cox may testify regarding

 cracks and defects in weld fusion discovered by visual inspection, whether or not he

 measured the weld with a gauge.8

               Cox may also testify regarding the remaining welds that he measured with a

 gauge. While his testimony reflects uncertainty over weld sizes, Cox also stated that

 he used multiple gauges of different sizes to make multiple readings in order to

 compensate for his uncertainty. ECF No. 95-2 at 6-7. Because “[e]xpert testimony

 may be more inferential than that of fact witnesses,” RTR Techs, 707 F.3d at 93, Cox’s

 testimony is admissible.                                       Rather than an unreliable method, Cox’s uncertainty

 evidences a weak foundation, to which the preferred recourse is “vigorous cross-

 examination over exclusion.” Zuckerman, 716 F. Supp. 2d at 28. Accordingly, Terex’s

 motion is denied with regard to this objection.9




                                                             
 8  Thisincludes the cracks Cox testified he found in 12 welds along the main boom section of the Crane.
 ECF No. 95-1 at 24-25.
  
 9  Terex asserts that “Cox could not testify . . . that the welds were outside the permissible tolerances

 set by AWS D14.3.” ECF No. 134 at 8. American Aerial claims that this contention is misleading,
 because “Cox testified that none of the 76 photograph welds violated AWS standards but all these 76
 welds violated the applicable Terex specifications.” ECF No. 161 at 7 n.2. American Aerial did not
 cite any supporting authority and did not explain why Terex’s welding standards would control the
 question of whether a defect exists, rather than the AWS standards. Although Terex addressed this
 competing standards issue at oral argument, it did not address the issue in its brief. Because this
 issue is not yet fully briefed, I will not decide at this time whether one standard is applicable over the
 other.

  

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       4. Testimony Regarding “Inaccessible” Welds

       Terex also seeks to exclude Cox’s testimony regarding 592 welds that he

 photographed but did not measure. ECF No. 134 at 8-10. Cox’s October 5 Report

 stated that the welds “probably . . . contained noncompliant weld connections.” ECF

 No. 134-2 at 4. Terex argues that Cox “does not identify any engineering, statistical

 or scientific basis for this opinion.” ECF No. 134 at 9. As noted above, AWS standards

 permit a visual inspection without a gauge to determine whether there are cracks in

 a weld or whether there is poor weld fusion. ECF No. 161-6 at 2; ECF No. 161-7.

 Therefore, Cox may testify about these two types of alleged defects if he observed

 them but did not measure them.

       With regard to the remaining “inaccessible” welds which Cox did not measure,

 Cox stated in his October 5 Report that he based his opinion on his “observations of

 the accessible regions” of the Crane. ECF No. 134-2 at 4. Cox’s observation of

 accessible weld defects, combined with his 37-year academic and professional

 background as a welding expert, specifically with regard to heavy construction

 equipment, satisfies me that he has a reliable basis to offer an opinion as to the

 probability that inaccessible defects exist on the Crane. As an expert, Cox may offer

 an inferential opinion, RTR Techs., Inc., 707 F.3d at 93, and to the extent that those

 inferences rest upon a weak foundation, they are ripe for cross-examination by Terex.

 Therefore, the motion to exclude is denied with regard to this objection.




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       5. Cox’s “Gratuitous Comments”

       Cox stated in the October 5 Report that the Crane “cannot pass certification

 criteria and therefore cannot be legally operated.” ECF No. 134-2 at 4. Cox also

 stated that Terex’s “dimension and inspection criteria[ ] were probably also violated.”

 Id. at 5. Terex argues that these two comments should be excluded because Cox did

 not identify which specific Terex specifications were violated, which certification

 criteria he was referring to, or how those criteria prevent the Crane from being legally

 operated. ECF No. 134 at 10. These objections go to the factual basis of Cox’s expert

 opinion under Rule 702, and is a matter of credibility rather than admissibility. RTR

 Techs., 707 F.3d at 93. See also, Zuckerman, 716 F. Supp. 2d at 28. Terex may

 examine the factual basis for Cox’s opinion in cross-examination. The motion to

 exclude is denied with regard to this objection.

       6. Legibility of Engineering Drawings

        In Cox’s October 5 Report, Cox stated that he was initially provided illegible

 or incorrect engineering drawings. ECF No. 134-2 at 4. Terex alleges that American

 Aerial did not provide its supplemental drawings to Cox until two weeks before his

 deposition and that Cox did not review them prior to his deposition. ECF No. 134 at

 10. Terex thus seeks to prevent Cox from testifying that he did not have legible or

 correct engineering drawings. Id. American Aerial does not argue with Terex’s

 timeline, i.e., that American Aerial did not provide the supplemental drawings to Cox

 until two weeks before his deposition and that Cox did not review them prior to his

 deposition. See ECF No. 161. Nor does American Aerial argue that the illegible



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 drawings posed much difficulty for Cox in forming opinions about the size of the welds

 and other specifications. Id. Nevertheless, Terex fails to identify any evidentiary

 grounds for excluding Cox’s testimony about the legibility of the engineering

 drawings he reviewed. See ECF No. 134 at 10. This objection is easily remedied by

 cross-examination, and accordingly, the motion to exclude is denied with regard to

 this objection.

       7. Opinions Developed After Cox’s Deposition

       Finally, Terex also seeks to exclude any opinions arrived at, or based on work

 performed after Cox’s deposition. Id. at 10-11. Terex claims that it was not provided

 with a supplemental report of Cox’s opinions after his deposition as required by

 Federal Rule of Civil Procedure 26(e), and, therefore, Cox should not be permitted to

 testify to any opinions that are different from those expressed either in his August 4

 Report, his October 5 Report, or his deposition testimony. Id. at 11. American Aerial

 has indicated that Cox will not offer any opinions that differ from those contained in

 either report, ECF No. 161 at 8. Therefore, Terex’s motion to exclude on this basis is

 denied, with leave to renew its objection in the event that Cox seeks to offer an opinion

 based on observations or conclusions which post-date his deposition.

       8. Conclusion

       Terex’s motion to exclude (ECF No. 134) is GRANTED IN PART with regard

 to Cox’s opinion concerning why the Crane was removed from service and opinions

 formed after Cox’s deposition. The motion to exclude is otherwise DENIED.




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                                III. CONCLUSION

       For the preceding reasons:
      1. Terex’s Motion to Exclude Tom Beverly’s Report and Opinions (ECF No. 123)
         is DENIED.


      2. Terex’s Motion to Exclude Paul Roberts’ Report and Opinions (ECF No. 137)
         is DENIED.


      3. Terex’s Motion to Exclude Dennis Eckstine’s Report, Opinions, and
         Testimony (ECF No. 136) is GRANTED IN PART with regard to Eckstine’s
         opinions and testimony concerning whether (a) Terex breached a contract
         with American Aerial, (b) whether the Crane was “new” when American
         Aerial purchased it, and (c) whether Terex breached any express or implied
         warranty. The motion is otherwise DENIED.


      4. Terex’s motion to exclude (ECF No. 134) is GRANTED IN PART with
         regard to Cox’s opinion concerning why the Crane was removed from service
         and opinions he formed after his deposition, if any. The motion is otherwise
         DENIED.



       SO ORDERED.

       This 29th day of April 2015.

                                                      /s/ JON D. LEVY
                                                    U.S. DISTRICT JUDGE




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